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                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA


In Re: FEMA TRAILER                                 MDL NO. 1873

FORMALDEHYDE PRODUCTS                               SECTION: N(4)

LIABILITY LITIGATION

THIS DOCUMENT RELATES TO:                           JUDGE ENGELHARDT
Gloria Jean Otis and Bernice Otis v Gulf            MAG. JUDGE ROBY
Stream Coach, Inc. et al.; Case No.1:09-840-
HSO-JMR (MD-LA No. 2:10cv01363-KDE-
ALC )


             MOTION TO ENROLL ADDITIONAL COUNSEL OF RECORD

       NOW INTO COURT, through undersigned counsel, comes Plaintiff who moves this

Honorable Court for an Order allowing J. Rock Palermo, Esquire (LA Bar #21793), of the law

firm of Bice Palermo & Vernon, LLC, to be enrolled as additional counsel of record for Plaintiff.

       WHEREFORE, Plaintiff requests that this Honorable Court enter an Order enrolling J.

Rock Palermo, Esquire (LA Bar #21793) as additional counsel of record.

                                                    s:/J. Rock Palermo
                                                    J. ROCK PALERMO (#21793)
                                                    BICE, PALERMO & VERON, L.L.C.
                                                    P. O. BOX 2125
                                                    LAKE CHARLES, LA 70602
                                                    (337) 310-1600 (PHONE)
                                                    (337) 310-1601 (FAX)
                                                    rock@vernonbice.com

                                                    s:/Paul A. Dominick
                                                    NEXSEN PRUET, LLC
                                                    205 King Street, Suite 400
                                                    Charleston, SC 29401
                                                    (843) 577-9440 (PHONE)
                                                    pdominick@nexsenpruet.com
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                                CERTIFICATE OF SERVICE


       I hereby certify that on June 24, 2010 I electronically filed the forgoing with the Clerk of
Court by using the CM/ECF system which will send a notice of electronic filing to all counsel of
record who are CM/ECF participants. I further certify that I mailed a copy of the forgoing
documents by first class mail to all counsel of record who are non-CM/ECF participants.

                                                     s:/Paul A. Dominick
                                                     NEXSEN PRUET, LLC
                                                     205 King Street, Suite 400
                                                     Charleston, SC 29401
                                                     (843) 577-9440 (PHONE)
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